     Case 3:19-cv-00881-DMS-BLM Document 53 Filed 10/23/20 PageID.812 Page 1 of 1



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7                                  UNITED STATES DISTRICT COURT

8                                SOUTHERN DISTRICT OF CALIFORNIA

9
                                                            Case No.: 19cv881-DMS(BLM)
10    MICHAEL BOUVY,

11                                         Plaintiff,       ORDER GRANTING JOINT MOTION
                                                            FOR ENTRY OF PROTOCOL RELATING
12    v.                                                    TO THE DISCOVERY OF
                                                            ELECTRONICALLY STORED
13    ANALOG DEVICES, INC., a Massachusetts
                                                            INFORMATION (“ESI”)
      company, as successor to LINEAR
14    TECHNOLOGY CORPORATION; LINEAR
                                                            [ECF No. 51]
15    TECHNOLOGY LLC, a Delaware company;
      LINEAR TECHNOLOGY ADMINISTRATIVE
16    COMMITTEE; and DOE DEFENDANTS 1 – 20,

17                                     Defendants.
18

19         On October 21, 2020, the parties filed a joint motion requesting that the Court enter the
20   parties’ Protocol Relating to the Discovery of Electronically Stored Information (“ESI”). ECF No.
21   51. The Court has considered the Proposed Protocol and, for good cause shown, the joint
22   motion is GRANTED.
23         IT IS SO ORDERED.
24   Dated: 10/23/2020
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                                                                                     19cv881-DMS(BLM)
